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                       Exhibit C
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                                             GENERAL SECURITY AGREEMENT

                                                                                                       Dated November 15, 2019

For the purpose of securing the payment and performance of any and all obligations, loans, credit extensions, indebtedness,
liabilities, and duties, whether contingent or matured, now or hereafter owing to Ally Bank (Ally Capital in Hawaii, Mississippi,
Montana and New Jersey) ("Bank") and Ally Financial Inc. ("AllY and together with Bank, the "Ally Partiee), and for other good
and valuable consideration, the receipt and sufficiency of which are acknowledged, Off Lease Only, LLC f/k/a Off Lease Only
Inc. conducting business at 1200 S Congress Avenue, Palm Springs, Florida 33406, grants to each of the Ally Parties a
security interest in, and a collateral assignment of, any and all of the following described property in which Dealer now or
hereafter acquires an interest, wherever located, in whatever form, and in any and all proceeds thereof, including insurance
proceeds: all vehicles, including but not limited to those vehicles for which either of the Ally Parties provides financing, and
regardless of whether such vehicles are considered inventory or equipment, and all funds provided to or held by either of the
 Ally Parties, regardless of whether such funds are considered accounts, general intangibles, or otherwise (the "Collateral").

Dealer has the power and authority to enter into this Security Agreement, and has taken all steps necessary to ensure that this
Agreement is legally valid and enforceable.

Unless the Ally Parties provide written consent, Dealer must not sell, transfer, encumber, or otherwise dispose of any
Collateral other than sales in the ordinary course of Dealer's business. Each of the Ally Parties has the right to inspect the
Collateral and Dealer's related books and records. Dealer authorizes each of the Ally Parties or their respective
designee(s) to execute on behalf of Dealer and to file any and all UCC financing statements to confirm, create, perfect,
continue, modify, or extend the Ally Parties security interest in and to the Collateral.

Upon default and in addition to all other rights and remedies provided by law, each of the Ally Parties has the remedies of a
secured party under the Uniform Commercial Code including, without limitation, the right to take possession, or receive,
collect, endorse, and negotiate any of the Collateral. For this purpose each of the Ally Parties may enter upon the premises
where the Collateral is situated and remove the Collateral. In the event either or both of the Ally Parties takes possession of
the Collateral, such party(ies) may sell it at public or private sale or otherwise in a commercially reasonable manner and apply
the proceeds of this sale or disposition, less the expenses of retaking, holding, preparing for sale, and selling the Collateral
and reasonable attorneys fees and legal expenses incurred by the Ally Parties, to the partial or complete satisfaction of any of
Dealer's indebtedness or obligation to the Ally Parties. Upon default by Dealer and demand by one or both of the Ally Parties,
Dealer must segregate and account for the Collateral and the proceeds thereof.

If any notification of intended disposition of any of the Collateral is required by law, notice will be considered reasonably and
properly given if it is mailed at least ten days before the scheduled disposition (unless a different time is specifically allowed or
required by law) and addressed to the Dealer at the address.shown above.

Any provision of this Agreement prohibited by law is ineffective only to the extent of the prohibition without invalidating the
remaining provisions of this Agreement. The non-enforcement by the Ally Parties of any right under this Agreement is not a
waiver thereof.




 Form G-GSA-A2
 (Rev. 2/16)(Mod. 11/19)
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Signature:                                                      Signature):
                     Unit                                       By:                             owl. 0. 7,A     ) co (Nri
                                                                                                                       t:
Title:       President and ChiefExecutive Officer               Title:                /11HÙ.            ,71:7_44dr:
Date:           Novem ber 15, 2019                              Date:                    act i5E-:




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This Agreement is binding on Dealer and each of the Ally Parties and their respective successors, administrators and assigns.

Off Lease Only, LLC, f/k/a Off Lease Only Inc.          [Witness for Dealer]
Signature:                                              Signature:
By:                                                     By:
Title:                                                   Title:
Date:                                                    Date:

Ally Bank                                                 Ally Financial Inc.
Signature:                 z....,i.-   •                  Signature:
By:                           ../                         By:
Title:        ,4;y2,--     4fireJ,,-7144                  Title:        A/74h,ot 60 47A-p-,--44e
Date:            //sir                                    Date:
